UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF

SARAH KATZ, On Behalf of Herself and All ~
Others Similarly Situated, CIVIL ACTION NO.
Plaintiff, CLASS ACTION COMPLAINT
FOR VIOLATIONS OF THE

v. FEDERAL SECURITIES LAWS
IMAGE INNOVATIONS HOLDINGS, INC.,
ALAIN KARDOS, DERICK SINCLAIR,
MICHAEL RADCLIFFE, MICHAEL PRESTON,
and CLYDE BAILEY, P.C.,

JURY TRIAL DEMANDED

Defendants.

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and belief as to all other matters, based upon, inter alia, the investigation conducted by and
through her attorneys, which included, among other things, a review of the public documents and
announcements made by Defendants, Securities and Exchange Comntfssion (“SEC”) filings, and
press releases regarding Image Innovations Holdings, Inc. (“Image” or the “Company”), alleges,
for her Complaint, as follows:

NATURE OF THE ACTION

1. This is a federal class action on behalf of purchasers of Image securities between
April 13, 2004 and March 16, 2006, inclusive (the “Class Period”), seeking to pursue remedies

under the Securities Exchange Act of 1934 (the “Exchange Act”).
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JURISDICTION AND VENUE

2. The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of
the Exchange Act [15 U.S.C. §§ 78j(b) and 78t(a)] and Rule 10b-5 promulgated under Section
10(b) by the SEC [17 C.F.R. § 240.10b-5].

3. This Court has jurisdiction over the subject matter of this action pursuant to 28
USS.C. §§ 1331 and 1337, and Section 27 of the Exchange Act [15 U.S.C. § 78aa].

4. Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28
ULS.C. § 1391(b). Many of the acts charged herein, including the preparation and dissemination
of materially false and misleading information, occurred in substantial part in this District and
Image conducts business in this District.

5. In connection with the acts alleged in this Complaint, Defendants, directly or
indirectly, used the means and instrumentalities of interstate commerce, including, but not
limited to, the mails, interstate telephone communications, and the facilities of the national
securities markets.

PARTIES

6. Plaintiff Sarah Katz, as set forth in the accompanying Certification incorporated by
reference herein, purchased the common stock of Image at artificially inflated prices during the
Class Period and has been damaged thereby.

7. Defendant Image is a Nevada corporation located at 432 Park Avenue South, New

York, New York, 10022.
8. Defendant Alain Kardos was Chief Executive Officer of Image until he was
terminated from that position on October 19, 2004. Kardos resigned as director of Image and
Image subsidiary, Image Innovations, Inc. on February 3, 2005.

9. Defendant Derick Sinclair was, at all relevant times, Chief Financial Officer of
Image.

10. Defendant Michael Radcliffe was, at all relevant times, a director of Image and
Chief Operating Officer of Image subsidiary, Image Innovations Sports & Entertainment Inc.

11. Defendant Michael Preston was Chief Executive Officer of Image from April 14,
2005 to the present.

12. Defendants Kardos, Sinclair, Radcliffe, and Preston are referred to as the
“Individual Defendants”

13. Defendant Clyde Bailey, P.C. (“CBPC”) was Image’s auditor from the start of the
Class Period until it was dismissed on January 11, 2005.

14. During the Class Period, the Individual Defendants, as senior executive officers
and directors of Image were privy to confidential and proprietary information concerning Image,
its operations, finances, financial condition, and present and future business prospects. The
Individual Defendants also had access to material, adverse, non-public information concerning
Image as discussed in detail below. Because of their positions with Image, the Individual
Defendants had access to non-public information about its business, finances, products, markets,
and present and future business prospects via access to internal corporate documents,

conversations, and communications with other corporate officers and employees, attendance at

management and board of directors meetings and committees thereof, and via reports and other
information provided to them in connection therewith. Because of their possession of such
information, the Individual Defendants knew or recklessly disregarded the fact that adverse facts
specified herein had not. been disclosed to, and were being concealed from, the investing public.

15. The Individual Defendants are liable as direct participants in, and as co-
conspirators with respect to, the wrongs complained of herein. In addition, the Individual
Defendants, by reason of their status as senior executive officers and directors were “controlling
persons” within the meaning of Section 20 of the Exchange Act and had the power and influence
to cause the Company to engage in the unlawful conduct complained of herein. Because of their
positions of control, the Individual Defendants were able to and did, directly or indirectly, control
the conduct of Image’s business.

16. The Individual Defendants, because of their positions with the Company,
controlled and/or possessed the authority to control the contents of its reports, press releases, and
presentations to securities analysts, and through them, reached the investing public. The
Individual Defendants were provided with copies of the Company’s press releases alleged herein
to be misleading, prior to or shortly after their issuance and had the ability and opportunity to
prevent their issuance or cause them to be corrected. Thus, the Individual Defendants had the
opportunity to commit the fraudulent acts alleged herein.

17. As senior executive officers and directors and as controlling persons of a publicly-
traded company whose securities were, and are, registered with the SEC pursuant to the
Exchange Act, and which were traded on the NASDAQ and governed by the federal securities

laws, the Individual Defendants had a duty to promptly disseminate accurate and truthful

information with respect to Image’s financial condition and performance, growth, operations,

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financial statements, business, products, markets, management, earnings, and present and future
business prospects, and to correct any previously issued statements that had become materially
misleading or untrue, so that the market price of Image’s securities would be based upon truthful
and accurate information. The Individual Defendants’ misrepresentations and omissions during
the Class Period violated these specific requirements and obligations.

18. | The Individual Defendants are liable as participants in a fraudulent scheme and
course of conduct that operated as a fraud or deceit on purchasers of Image’s securities by
disseminating materially false and misleading statements and/or concealing material, adverse
facts. The scheme: (i) deceived the investing public regarding Image’s business, operations, and
management and the intrinsic value of Image securities; and (ii) caused Plaintiff and the other
members of the Class to purchase Image’s securities at artificially inflated prices.

PLAINTIFF'S CLASS ACTION ALLEGATIONS

19. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a) and (b)(3) on behalf of all those who purchased the securities of Image during
the Class Period and who were damaged thereby (the “Class”). Excluded from the Class are
Defendants, the officers and directors of the Company during the Class Period, members of their
immediate families and their legal representatives, heirs, successors or assigns and any entity in
which Defendants have or had a controlling interest.

20. | The members of the Class are so numerous that joinder of all members is
impracticable. Throughout the Class Period, Image securities were publicly traded. While the

exact number of Class members is unknown to Plaintiff at this time and can only be ascertained

through appropriate discovery, Plaintiff believes that there are hundreds or thousands of members
in the proposed Class. Record owners and other members of the Class may be identified from
records maintained by Image or its transfer agent and may be notified of the pendency of this
action by mail, using the form of notice similar to that customarily used in securities class
actions.

21. Plaintiff's claims are typical of the claims of the Class, as all Class members were
similarly affected by Defendants’ wrongful conduct in violation of federal law that is complained
of herein.

22. Plaintiff will fairly and adequately protect the interests of the Class and has
retained counsel competent and experienced in class and securities litigation.

23. Common questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members of the Class. Among the
questions of law and fact common to the Class are:

a. whether the federal securities laws were violated by Defendants’ acts as
alleged herein;

b. whether statements made by Defendants to the investing public during the
Class Period misrepresented material facts about the business and operations of Image; and

Cc. to what extent the members of the Class have sustained damages and the
proper measure of damages.

24. A class action 1s superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as
a class action.

SUBSTANTIVE ALLEGATIONS

25. Image was formerly known as Busanda Explorations Inc. (“Busanda”). Busanda
was purportedly organized to engage in the exploration and development of mining claims and
properties in British Columbia, Canada. On June 30, 2003, Busanda acquired all of the issued
and outstanding shares of Image Innovations, Inc. On July 25, 2003, Busanda changed its name
to Image Innovations Holdings, Inc.

26. Image is in the business of selling high- and medium-value sports and
entertainment celebrity artwork and collectibles, and has been in the business of selling low-cost
consumer items branded under license with the logos of professional sport leagues and teams

27, Image has three subsidiaries: Image Innovations Sports & Entertainment Inc.
(“Image Sports”), which sells celebrity artwork and collectibles through a targeted distribution
network, Image Innovations Inc., which is in the business of creating, sourcing and marketing a
wide variety of relatively low-cost electronic products by endorsing them with the brand logos of
sports teams and leagues and/or other recognized trademarks, and Imaging Innovations Sports
and Entertainment Inc., which was incorporated to acquire a warehouse and storage facility in

Tannersville, New York.

MATERIALLY FALSE AND MISLEADING STATEMENTS

28. On the first day of the Class Period, April 13, 2004, Image filed its Annual Report
on Form 10-K. for the year ended 2003, which was signed by Preston, Radcliffe, and Sinclair.

The Form 10-K reported revenues of $101,743 for fiscal year 2003.

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29. On May 13, 2004, Image filed its results for the 2004 first quarter on Form 10-Q,
which was signed by Defendants Kardos and Sinclair. Kardos and Sinclair also signed
certifications required by the Sarbanes Oxley Act of 2002 attesting to the accuracy of the Form
10-Q. In the Form 10-Q, Image reported revenues for the three months ending March 31, 2004
of $180,968. )

30. After this announcement, Image stock rose from $2.45 on May 14, 2004 to $2.60
on May 17, 2004 (the next trading day).

31. On July 9, 2004, Image filed its results for the 2004 second quarter on Form 10-Q,
which was signed by Defendants Kardos and Sinclair. Kardos and Sinclair also signed
certifications required by the Sarbanes Oxley Act of 2002 attesting to the accuracy of the Form
10-Q. In the Form 10-Q, Image reported revenues for the three and six months ending June 30,
2004 of $738,358 and $919,326, respectively.

32. On October 21, 2004, Kardos was purportedly terminated as Image’s chief
executive officer.'

33. | On November 15, 2004, Image filed its results for the 2004 third quarter on Form
10-Q, which was signed by Defendants Kardos and Sinclair. Kardos and Sinclair also signed
certifications required by the Sarbanes Oxley Act of 2002 attesting to the accuracy of the Form

10-Q. In the Form 10-Q, Image reported revenues for the three and nine months ending

September 30, 2004 of $2,297,830 and $3,217,156, respectively.

According to Kardos, Image did not reveal his termination. See paragraph 38. Image continued
to list Kardos as a signatory on public filings for months.

8
34. After this announcement, Image stock rose from $5.85 on November 15, 2004 to
$6.00 per share on November 16, 2004 on particularly high volume.

THE TRUTH BEGINS TO SLOWLY COME OUT

35. On January 14, 2005, in a Form 8-K filed with the SEC, Image announced that on
January 11, 2005, the Audit Committee of Image’s Board of Directors dismissed CBPC as its
independent accountant and retained Goldstein Golub Kessler LLP (“GGK”) to act as Image’s
independent public accountants to audit and certify Image’s financial statements for the year
ended December 31, 2004. No reasons were given for CBPC’s dismissal.

36. After this announcement, Image stock fell about 11% from $6.25 on January 14,
2005 to $5.55 per share on January 18, 2005 (the next trading day).

37. On January 31, 2005, Kardos filed an action in the Supreme Court of British
Columbia, naming as defendants Image, Image Innovations, Inc., and Sinclair. Kardos alleged:
(i) that the defendants wrongfully refused or neglected to return to him certificates representing
700,000 shares of Image’s common stock; and (ii) that he was wrongfully dismissed from his
position as an officer and employee of Image and Image Innovations, Inc. on October 21, 2004.
Kardos also alleged deficiencies with Image’s corporate governance and its business ethics as
they relate to his alleged termination.

38. On February 3, 2005, Kardos resigned as director of Image and its wholly owned
subsidiary, Image Innovations, Inc. As mentioned above, Kardos’ resignation letter, dated

February 3, 2005, alleges, among other things, that Image never revealed his termination:

To: The Boards of Directors of Image Innovations Holdings Inc. (“Holdings”)
and Image Innovations Inc. (“Image”); (together the “Companies”).
I herby [stet] give notice that I am, effective immediately, resigning my
positions as a director of Holdings and Image.

My resignation is caused by my concern with the corporate governance of
Holdings, and its business ethics, as they relate to my termination as the
President and CEO of the Companies, and related issues.

On October 19, 2004, I was terminated as President and CEO of both of the
Companies, without cause, notice, or pay of lieu. I have been unable to access
the Companies’ offices since that time, and unable to participate in its day to
day business. Despite my written (through counsel) and verbal requests, no
disclosure of my termination has been made to the SEC or the public at large.

Following my termination, I entered into negotiations with Holdings, through
Mr. Armenakis [Image’s counsel], in respect of severance. My counsel was
advised, in December, 2004, that the terms of a severance package had been
reviewed and approved by Mr. Gononsky, Mr. Radcliffe, Mr. Sinclair and
(presumably) himself. Subsequently, my counsel has been advised the Board
does not intend to honour this commitment and that no severance will be
offered or provided.

Further, J am the legal and beneficial owner of 700,000 shares in Holdings
which, upon issuance, were provided to Mr. Derek Sinclair by Holdings’s
transfer agent. Despite numerous requests from my counsel, Mr. Sinclair and
the company have refused to provide me with the share certificates related to
these shares. Holdings has also, during the above negotiation, improperly
refused to return them to me until J entered into restrictions on my ability to
sell the shares as part of the provision of severance.

I am saddened at having to tender these resignations, especially in the
circumstances outlined above.

39. OnF ebruary 8, 2005, Kardos resigned from his position as a director of Image
Sports.

40. On April 1, 2005, Image filed a NT10-K, notifying the SEC that it could not file
its Form 10-K on time because it did not, due to “limited personnel,” have time to completely

review Image’s financial information.

10
41. On April 14, 2005, Michael Preston was appointed Chief Executive Officer of
Image.

42. On April 15, 2005, Image filed its Annual Report on Form 10-K for the year
ended 2004, which was signed by Preston and Sinclair. The Form 10-K reported revenues of
$6.1 million for fiscal 2004.

43. On May 17, 2005, Image filed a NT10-Q, notifying the SEC that it could not file
its 2005 first quarter Form 10-Q on time because it did not, due to “limited personnel,” have time
to completely review Image’s financial information.

44. On May 23, 2005, Image filed its results for the 2005 first quarter on Form 10-Q,
which was signed by Defendants Preston and Sinclair. In the Form 10-Q, Image reported
revenues for the three months ending March 31, 2005 of $464,502.

45. On August 15, 2005, Image filed a NT10-Q, notifying the SEC that it could not
file its second quarter 2005 Form 10-Q on time because it did not, due to “limited personnel,”
have time to completely review Image’s financial information.

46. On August 22, 2005, Image filed its results for the 2005 second quarter on Form
10-Q, which was signed by Defendants Preston and Sinclair. In the Form 10-Q, Image reported
revenues for the three and six months ending June 30, 2005 of $48,115 and $512,617,
respectively.

47. After this announcement, Image stock rose from $4.25 on August 22, 2005 to
$4.55 per share on August 25, 2005 (the next trading day).

48. On November 8, 2005, Image announced that the lawsuit filed by former CEO

Kardos had been settled, with H.E. Capital, a large holder of Image stock, agreeing to deposit the

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shares in question into escrow and purchase the same at specified times at an amount agreed by
Kardos and H.E. Capital. Kardos’ claim in respect of the alleged wrongful termination was
dismissed with no payments required to be made by any party.

49. On November 14, 2005, Image filed its results for the 2005 third quarter on Form
10-Q, which was signed by Defendants Preston and Sinclair. In the Form 10-Q, Image reported
revenues for the three and nine months ending September 30, 2005 of $397,487 and $910,104,
respectively.

50. On November 22, 2005, the Public Company Accounting Oversight Board (the
“PCAOB’) released an Order Instituting Disciplinary Proceedings, Making Findings, and
Imposing Sanctions In the Matter of Clyde Bailey, P.C. and Clyde B. Bailey, CPA (the
“Order”). Pursuant to the Order, in which the registration of CBPC with the PCAOB was
revoked, the PCAOB determined that in connection with CBPC’s fiscal year 2003 audit of
Image’s financial statements (the “2003 Audit”), CBPC relied upon the work of another audit
firm as a component of CBPC’s audit procedures and the audit evidence obtained through
procedures performed by such other firm constituted substantially all of the audit evidence
obtained to support the 2003 Report. The Order stated that the level of planning, testing,
supervision and review exercised by CBPC with regard to the other audit firm’s work was not
sufficient to enable CBPC to use the work of such other auditor in the same manner as if it had
been performed by CBPC’s own personnel. The Order further stated that consequently, CBPC
had violated PCAOB standards in issuing the 2003 Report.

51. On December 1, 2005, Image’s management, in consultation with GGK,

determined that the audit report issued by CBPC, in respect of Image’s consolidated financial

12
statements for the fiscal year ended December 31, 2003, should no longer be relied upon. Image,
in consultation with GGK, stated that it was investigating whether a re-audit of the financial
statements for the year ended December 31, 2003 was necessary or appropriate.

52. After the December 1“ announcement, shares of Image fell 10% from $3.70 on
December 1, 2005 to $3.46 on December 2, 2005.

53. On December 5, 2005, the Audit Committee of Image concluded that a forensic
accounting investigation concerning Image’s consolidated financial statements for the fiscal year
ended December 31, 2004 (the “2004 Financials”) would be necessary to confirm Image’s recorded
revenue and receivables in respect of such period. At such time, Image advised its independent
registered accounting firm, GGK, that such forensic audit would be commenced.

54. On March 16, 2006, the forensic accounting firm retained by the Audit Committee
to conduct the investigation presented preliminary findings to the Audit Committee, concluding
that a number of revenue and receivables in respect of Image’s inventory sales were improperly
recorded. On March 16, 2006, based on such preliminary findings, the Audit Committee, in
consultation with the forensic accountant, determined that the 2004 Financials and the related
independent auditor’s report can no longer be relied upon. -

55. Thus, at the end of the day on March 16, 2006, Image announced:

[Image] anticipates that a restatement of the 2004 Financials will be necessary.
Since the forensic accounting firm has not yet completed its investigation, the
exact nature and full extent of the restatement is not known at this point.
However, it is expected that the restatement will reflect materially lower
revenue, and materially greater net loss, than originally reported by the

Registrant in the 2004 Financials. The Registrant advised GGK of the filing of
this Report.

13
56. Because this announcement was after the close of trading on March 16, 2006, Image
stock did not fall until the next day, when it fell about 16% from $1.55 on March 17, 2006 to $1.30
on March 20, 2006, the next trading day.

57. Accordingly, as Image has now admitted, Image’s revenue announcements during
the Class Period, which are detailed above in paragraphs 28-46, were all materially false and
misleading. This is true notwithstanding the fact that the restatements have not yet been
quantified because a restatement is not required unless there is a material change in a reported
figure.

POST-CLASS PERIOD EVENTS

58. On March 26, 2006, GGK, Image’s independent registered accounting firm,
resigned as auditor. In its letter of resignation to the Image’s Audit Committee Chairman, GGK
stated that based on discussions with kmage and its forensic accountants, GGK. could no longer
rely on the representations of management that were necessary for GGK to perform auditing
work on Image’s behalf. The letter stated that as a result, GGK was withdrawing its auditors
report on Image’s financial statements for the year ended December 31, 2004.

59. | GGK set forth a variety of factors that prompted its resignation. Among the
reasons set forth in the letter, GGK stated that Image’s Chief Executive Officer Preston refused
to inform GGK as to what triggered the forensic accounting investigation. GGK also stated that
the investigation has, at a minimum, called into serious question virtually all of Image’s 2004
revenue, and GGK stated that it believes Image has not taken adequate remedial steps in response
to the findings of the investigation. Further, GGK stated that Image apparently is in the process

of offering or selling its securities, or has offered or sold its securities, during the investigation.

14
60. On March 30, 2006, Image’s CFO, Sinclair, who is also a member of image’s
Board, received a letter from James Armenakis, an attorney who is also a director, identifying
himself as the General Counsel of Image and informing Sinclair that a resolution purporting to
remove him and Image’s Chief Executive Officer, Preston, as Image directors had been
authorized by approximately 75.4% of Image’s shareholders pursuant to written consents thereof.

61. Thereafter, Image received a letter from Preston challenging the validity and
effectiveness of the purported action on the basis of the failure by the party or parties soliciting
such consents to comply with the proxy solicitation and information statement rules of the
Exchange Act. Furthermore, Preston indicated in his letter that he has not yet fully examined the
written consents to determine the validity of the consents themselves, but believes that certain of
the consents were not executed properly.

62. On April 3, 2006, Image announced that because of GGK’s resignation, Image
would be unable to file its annual report on Form 10-K for fiscal year 2005.

63. On April 6, 2006, Image’s Chief Executive Officer Preston met with members of
the Enforcement Division of the SEC to discuss the nature of, and facts underlying, the forensic
accounting investigation. ~

64. On April 9, 2006, Arthur Gononsky resigned as Chairman of the Board of
Directors of Image and as a member of the Audit Committee.

65. Gononsky’s resignation letter is very telling:

It was and is my belief that the Board should have engaged independent
counsel, with no ties to management or existing counsel, to conduct and
oversee an investigation into these matters which would of course have

included a thorough forensic audit. Others felt, and apparently feel, differently.
Accordingly, the forensic accounting firm of Marks Paneth & Shron LLP was

15
engaged to investigate the alleged improper accounting treatment and issued a
“preliminary” report in March that raised more questions than it answered.
While I do not pretend to have the level of financial and accounting
sophistication of Mr. Preston, Mr. Sinclair or Mr. Whittle, it is my belief that,

had independent counsel been engaged, unconnected with the management on
whose watch the accounting improprieties are alleged to have occurred or been
certified, this investigation would have proceeded to a far more rapid
conclusion. Moreover, at this point, the Company’s auditors, GGK, have
resigned, alleging that they can no longer rely on the representations of
management. I also believe that Mr. Preston’s decision to withhold the

‘payment of wages to line employees who are not in any way involved in the
alleged improprieties is morally wrong and most probably illegal, has not, so
far as I am aware, been mandated by the SEC, and can only have the effect of
further damaging the Company and its shareholders.

In short, the manner in which management has proceeded, in my opinion, has
resulted in continuing and unnecessary harm to the interests of shareholders. In
light of the foregoing, you will understand that I feel that I can no longer
remain a member of the Board and effectively represent the interests of the
shareholders of the Company. Accordingly, effective immediately, I hereby
resign as a member of the Board of Directors of Image Innovation Holdings,
Inc., as a member of any Committee thereof, and as Chairman of the Board.

66. On April 10, 2006, James Armenakis also resigned from Image’s Board of
Directors.
67. Armenakis’ resignation letter is equally damning:

This is to inform you that effective immediately, Arnrenakis &
Armenakis hereby resigns as General Counsel to the Company. In addition,
effective immediately, I hereby resign as a director of the Company.

We are compelled to take this action as a result of the Company’s
continuing failure to follow our advice concerning its operations. Despite the
fact that the Company has instructed us to draft numerous contracts, referred
litigation matters to our firm for resolution, and both Michael Preston and
Snow Becker Krauss, P.C. have asked us to draft opinion letters in connection
with various transactions, they suddenly refuse to acknowledge our role as
General Counsel.

The Company also refuses to follow our advice to terminate the
absentee Chief Financial Officer [Sinclair]. It should be noted that although the

16
alleged incidents listed in the forensic accountants’ review occurred during his
tenure, there is no mention of Derick Sinclair in that report. This can only
cause one to conclude that the directions given to the forensic accountants
and/or their review, are suspect.

Similarly, despite clear indication that the Chief Executive Officer has
lost the confidence of an overwhelming majority of the shareholders, he
continues to ignore their wishes and continues to take steps to consolidate the
daily operations of the Company and its assets under his sole control. Under his
reign, the Company’s stock has steadily declined in value and is unlikely to
recover.

As a result of these circumstances our further involvement with the
Company has become untenable.

68. Also, on April 10, 2006, Image fired the former Chief Executive Officer of Image
Sports.

SCIENTER

69. As alleged herein, Defendants acted with scienter in that they knew that the public
documents and statements issued or disseminated in the name of the Company were materially
false and misleading, knew that such statements or documents would be issued, or acquiesced in
the issuance or dissemination of such statements or documents as primary violations of the
federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their
receipt of information reflecting the true facts regarding Image, their control over and/or receipt
of information of Image’s allegedly materially misleading statements and/or their associations
with the Company that made them privy to confidential, proprietary information concerning
Image, participated in the fraudulent scheme alleged.

70. The numerous resignations and terminations, of both executives and accountants,

is highly probative of Defendants’ scienter. During the Class Period, Kardos was fired and later

17
resigned from Image and Image subsidiaries, CBPC was fired, Arthur Gonorsky and James
Armenakis resigned, and GGK resigned. This string of resignations and terminations strongly
suggests that intentional wrongdoing had occurred. Moreover, the resignation letters of
Gonorsky and Armenakis explicitly implicate Preston and Sinclair.

FRAUDULENT SCHEME AND COURSE OF BUSINESS

71. The market for Image’s securities was open, well-developed and efficient at all
relevant times. As a result of these materially false and misleading statements and failures to
disclose, Image’s securities traded at artificially inflated prices during the Class Period. Plaintiff
and the other members of the Class purchased or otherwise acquired Image securities relying
upon the integrity of the market price of Image’s securities and market information relating to’
Image, and have been damaged thereby.

72. During the Class Period, Defendants materially misled the investing public,
thereby inflating the price of Image’s securities, by publicly issuing false and misleading
statements and omitting to disclose material facts necessary to make Defendants’ statements, as
set forth herein, not false and misleading. Said statements and omissions were materially false
and misleading in that they failed to disclose material, adverse information and misrepresented
the truth about the Company, its business and operations, as alleged herein.

73. At all relevant times, the material misrepresentations and omissions particularized
in this Complaint directly or proximately caused or were a substantial contributing cause of the
damages sustained by Plaintiff and the other members of the Class. As described herein, during

the Class Period Defendants made or caused to be made a series of materially false or misleading

statements about Image’s business, prospects and operations. These material misstatements and

18
omissions had the cause and effect of creating in the market an unrealistically positive
assessment of Image and its business, prospects and operations, thus causing the Company’s
securities to be overvalued and artificially inflated at all relevant times. Defendants’ materially
false and misleading statements during the Class Period resulted in Plaintiff and the other
members of the Class purchasing the Company’s securities at artificially inflated prices, thus
causing the damages complained of herein.

Applicability Of Presumption
Of Reliance: Fraud-On-The-Market Doctrine

74. . Atall relevant times, the market for Image’s securities was efficient for the
following reasons, among others:

a. Image’s stock met the requirements for listing, and was listed and traded
on the NASDAQ, a highly efficient and automated market;

b. As a regulated issuer, Image filed periodic public reports with the SEC and
the NASDAQ;

Cc. Image regularly communicated with public investors via established
market communication mechanisms, including through regular dissemjnations of press releases
on the national circuits of major newswire services and through other wide-ranging public
disclosures, such as communications with the financial press and other similar reporting services;
and

d. Image was followed by several securities analysts employed by major
brokerage firms who wrote reports that were distributed to the sales force and certain customers

of their respective brokerage firms. Each of these reports was publicly available and entered the

19
public marketplace.

75. As aresult of the foregoing, the market for Image’s securities promptly di gested
current information regarding Image from all publicly available sources and reflected such
information in Image’s stock price. Under these circumstances, all purchasers of Image’s
securities during the Class Period suffered similar injury through their purchase of Image’s
securities at artificially inflated prices and a presumption of reliance applies.

NO SAFE HARBOR

76. The statutory safe harbor provided for forward-looking statements under certain
circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.
Many of the specific statements pleaded herein were not identified as “forward-looking
statements” when made. To the extent there were any forward-looking statements, there were no
meaningful cautionary statements identifying important factors that could cause actual results to
differ materially from those in the purportedly forward-looking statements. Alternatively, to the
extent that the statutory safe harbor does apply to any forward-looking statements pleaded herein,

Defendants are liable for those false forward-looking statements because at the time each of those
forward-looking statements was made, the particular speaker knew that the particular forward-

looking statement was false, and/or the forward-looking statement was authorized and/or

approved by an executive officer of Image who knew that statement was false when made.

20
COUNT I

Violation Of Section 10(b) Of
The Exchange Act And Rule 10b-5
Promulgated Thereunder Against All Defendants

77. Plaintiff repeats and realleges each and every allegation contained above as if fully
set forth herein.

78. Throughout the Class Period, Image and the Individual Defendants carried out a
plan, scheme, and course of conduct that was intended to and did: (i) deceive the investing
public, including Plaintiff and the other Class members, as alleged herein; (ii) artificially inflate
and maintain the market price of Image’s securities; and (iii) cause Plaintiff and the other
members of the Class to purchase Image’s securities at artificially inflated prices. In furtherance
of this unlawful scheme and course of conduct, Defendants took the actions set forth herein.

79. Defendants (a) employed devices, schemes, and artifices to defraud: (b) made
untrue statements of material fact and/or omitted to state material facts necessary to make the
statements not misleading; and (c) engaged in acts, practices, and a course of business that
- operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to
maintain artificially high market prices for Image’s securities in violation of Section 10(b) of the
Exchange Act and Rule 10b-5. Defendants are sued either as primary participants in the
wrongful and illegal conduct charged herein or as controlling persons as alleged below.

80. In addition to the duties of full disclosure imposed on Defendants as a result of
their making of affirmative statements and reports, or participation in the making of affirmative
statements and reports to the investing public, Defendants had a duty to promptly disseminate

truthful information that would be material to investors in compliance with the integrated

21
disclosure provisions of the SEC as embodied in SEC Regulation S-X (17 C.F.R. § 210.01 et
seq.) and Regulation S-K (17 C.F.R. § 229.10 et seq.) and other SEC regulations, including
accurate and truthful information with respect to the Company’s operations, financial condition,
and earings so that the market price of the Company’s securities would be based on truthful,
complete, and accurate information.

81. Image and the Individual Defendants, individually and in concert, directly and
indirectly, by the use, means or instrumentalities of interstate commerce and/or of the mails,
engaged and participated in a continuous course of conduct to conceal material, adverse
information about the business, operations, and future prospects of Image as specified herein.

82. Defendants employed devices, schemes and artifices to defraud, while in
possession of material, adverse, non-public information and engaged in acts, practices, and a
course of conduct as alleged herein in an effort to assure investors of Image’s value and
performance, which included the making of, or the participation in the making of, untrue
statements of material facts and omitting to state material facts necessary in order to make the
statements made about Image and its business operations and future prospects in the light of the
circumstances under which they were made, not misleading, as set forth more particularly herein,
and engaged in transactions, practices and a course of business that operated as a fraud and deceit
upon the purchasers of Image’s securities during the Class Period.

83. The Individual Defendants’ primary liability, and controlling person liability,
arises from the following facts: (1) the Individual Defendants were high-level officers and/or
directors at the Company during the Class Period; (ii) the Individual Defendants were privy to

and participated in the creation, development and reporting of the Company’s internal budgets,

22
plans, projections and/or reports; and (iii) the Individual Defendants were aware of the
Company’s dissemination of information to the investing public that they knew or recklessly
disregarded was materially false and misleading.

84. Defendants had actual knowledge of the misrepresentations and omissions of
material facts set forth herein, or acted with reckless disregard for the truth in that they failed to
ascertain and to disclose such facts, even though such facts were available to them. Such
Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly
and for the purpose and effect of concealing Image’s operating condition and future business
prospects from the investing public and supporting the artificially inflated price of its securities.
As demonstrated by Defendants’ overstatements and misstatements of the Company’s business,
operations and earnings throughout the Class Period, Defendants, if they did not have actual
knowledge of the misrepresentations and omissions alleged, were reckless in failing to obtain
such knowledge by deliberately refraining from taking those steps necessary to discover whether
those statements were false or misleading.

85. Asaresult of the dissemination of the materially false and misleading information
and failure to disclose material facts, as set forth above, the market price of Image’s securities
was artificially inflated during the Class Period. In ignorance of the fact that market prices of
Image’s publicly-traded securities were artificially inflated, and relying directly or indirectly on
the false and misleading statements made by Defendants, or upon the integrity of the market in
which the securities trade, and/or on the absence of material, adverse information that was known

to or recklessly disregarded by Defendants but not disclosed in public statements by Defendants

23
during the Class Period, Plaintiff and the other members of the Class acquired Image securities
during the Class Period at artificially high prices and were damaged thereby.

86. At the time of said misrepresentations and omissions, Plaintiff and the other
members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff
and the other members of the Class and the marketplace known of the true financial condition
and business prospects of Image, which were not disclosed by Defendants, Plaintiff and the other
members of the Class would not have purchased or otherwise acquired their Image securities, or,
if they had acquired such securities during the Class Period, they would not have done so at the
artificially inflated prices that they paid.

87. By virtue of the foregoing, Defendants have violated Section 10(b) of the
Exchange Act and Rule 10b-5 promulgated thereunder.

88. Asa direct and proximate result of Defendants’ wrongful conduct, Plaintiff and
the other members of the Class suffered damages in connection with their respective purchases
and sales of the Company’s securities during the Class Period.

COUNT I

Violation Of Section 20(a) Of ~
The Exchange Act Against the Individual Defendants

89. Plaintiff repeats and realleges each and every allegation contained above as if fully
set forth herein.

90. The Individual Defendants acted as controlling persons of Image within the
meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level
positions, and their ownership and contractual rights, participation in and/or awareness of the
Company's operations and/or intimate knowledge of the statements filed by the Company with

24
the SEC and disseminated to the investing public, the Individual Defendants had the power to
influence and control and did influence and control, directly or indirectly, the decision-making of
the Company, including the content and dissemination of the various statements that Plaintiff
contends are false and misleading. The Individual Defendants were provided with or had
unlimited access to copies of the Company’s reports, press releases, public filings, and other
statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were
issued and had the ability to prevent the issuance of the statements or cause the statements to be
corrected.

91.‘ In particular, the Individual Defendants had direct and supervisory involvement in
the day-to-day operations of the Company and, therefore, are presumed to have had the power to
control or influence the particular transactions giving rise to the securities violations as alleged
herein, and exercised the same.

92. As set forth above, Image and the Individual Defendants each violated Section
10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their
positions each as controlling persons, the Individual Defendants are liable pursuant to Section
20(a) of the Exchange Act. As a direct and proximate result of Imagé“and the Individual
Defendants’ wrongful conduct, Plaintiff and the other members of the Class suffered damages in
connection with their purchases of the Company’s securities during the Class Period.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief and judgment, as follows:
A. Determining that this action is a proper class action under Rule 23 of the

Federal Rules of Civil Procedure;

25
B. Awarding compensatory damages in favor of Plaintiff and the other
members of the Class against all Defendants for all damages sustained as a result of Defendants’
wrongdoing, in an amount to be proven at trial, including interest thereon;

C. Awarding Plaintiff and the Class their reasonable costs and expenses
incurred in this action, including counsel fees and expert fees; and

D. Such other and further relief as the Court may deem just and proper.

JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury.
Dated: May 15, 2006

BERNSTEIN LIEBHARD & LIFSHITZ, LLP

Inath Re Soeohm—

ndf A. Liebhard (SL-0836)

. Seth Ottensoser (UO-9703)
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Attorneys for Plaintiff ~

26
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Of, CERTIFICATION OF NAMED PLAINTIFF

PURSUANT TO FEDERAL SECURITIES LAWS

I SARA \<aTzZ . (“Plaintiff”), declare the following as to the claims asserted under
the federal securities laws, that:

1. Plaintiff has reviewed the complaint filed in this matter and has authorized the filing of a
complaint based on similar allcgations in a related or amended complaint. Plaintiff retains Bernstcin
Liebhard & Lifshitz, LLP and such co-counsel it deems appropriate to associate with to putsue such action
on a contingent fee basis.

2. Plaintiff did not purchase the security that is the subject of this action at the direction of
Plaintiff=s counsel or in order to participate in this private action.

3. Plaintiff is willing to serve as a lead plaintiff either individually or as part of a group. A Icad
plaintiff is a representative party who acts on behalf of other class members in directing the action, and
whose duties may include testifying at deposition and trial. I understand that the litigation is not settled,
this is not a claim form, and sharing in any recovery is not dependent upon exccution of this Certification,

4. Plaintiff's transaction(s) in the IMAGE INNOVATIONS HOLDINGS, INC. security that is
the subject of this action during the class period are as follows:

No. of Shares Steck Symbol Buy/Scll Date Price Per Share
[oOo me imeV Buy i [tofo @ G3

Please list other transactions on n separnte shect of paper, if necesnary.

5. During the three years prior to the date of this Certification, Plaintiff has pot sought to serve
or Served as a representative party for the class in any action filed under the fedcral securities laws except
as indicated here:

6, Plaintiff will not accept any payment for serving as a representative party on behalf of the
class beyond the Plaintiff's pro rata share of aly Fecovery, or as ordered or approved by the court, including
any award for reasonable costs and expenses (including lost wages) directly relating to the representation of

¢ class.

I declare under penalty of perjury that the foregoing is true and correct,

Executed this 30- day of April Te _
Al _

Signature N
SARAH KATZ
Print Name
[GO €. $f ST + 3A
Address
Nt Wy 01273

am

City, State, Zip

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